              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF IOWA
                        WESTERN DIVISION

UNITED STATES OF AMERICA,
           Plaintiff,                         No. 11-CR-4144-DEO
vs.                                      ORDER ACCEPTING REPORT
                                            AND RECOMMENDATION
DAVID SOTO-QUINTERO,
                                          CONCERNING GUILTY PLEA
           Defendant.
                        ____________________

                 I.    INTRODUCTION AND BACKGROUND

      Before the Court is Chief Magistrate Judge Paul A. Zoss’

Report and Recommendation Concerning Guilty Plea (Docket No.

77, 03/15/2012).

      On December 16, 2011, a one count Indictment (Docket No.

1) was returned in the above-referenced case listing Defendant

Soto-Quintero    and    4   co-defendants.        On    March    15,    2012,

Defendant David Soto-Quintero entered a guilty plea to Count

1 of the Indictment, pursuant to a plea agreement (Docket No.

74-1) before Chief United States Magistrate Judge Paul A.

Zoss.

      Count 1 of the Indictment charges that from a date

unknown but prior to November 2009, and continuing through

December 2011, in the Northern District of Iowa and elsewhere,

defendant David Soto-Quintero and named co-defendants, who



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having been previously convicted of a felony drug offense,

that is, possession with intent to deliver methamphetamine in

Woodbury County, Iowa, case number FECR051409, did knowingly

and unlawfully combine, conspire, confederate, and agree with

each other and others whose identities are both known and

unknown to the Grand Jury, to commit offenses against the

United    States,      to    wit:    to   knowingly,    intentionally,             and

unlawfully possess with the intent to distribute 50 grams or

more     of   actual        (pure)   methamphetamine,        a      Schedule        II

controlled substance within 1,000 feet of Smith Elementary

School located in Sioux City, Woodbury County, Iowa, and Lewis

and Clark Elementary School located in South Sioux City,

Nebraska, in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(A), 851, and 860.

       This was in violation of Title 21, United States Code,

Section 846.

       The Report and Recommendation (Docket No. 77) recommends

that defendant David Soto-Quintero’s guilty plea relating to

count 1 be accepted.            Waivers of objections to Judge Zoss’

Report and Recommendation were filed by each party (Docket

Nos. 78 and 79).


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    The Court, therefore, undertakes the necessary review to

accept defendant David Soto-Quintero’s plea in this case.

                            II.    ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).          Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.


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FED. R. CIV. P. 72(b).

       As mentioned, waivers of objections to the Report and

Recommendation have been filed, and it appears to the Court

upon review of Chief Magistrate Judge Zoss’ findings and

conclusions that there are no grounds to reject or modify

them.

       IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief Magistrate Judge Zoss’ Report and Recommendation (Docket

No. 77), and accepts defendant David Soto-Quintero’s plea of

guilty in this case to Count 1 of the             Indictment (Docket No.

1).

       IT IS SO ORDERED this 23rd day of March, 2012.


                                     __________________________________
                                     Donald E. O’Brien, Senior Judge
                                     United States District Court
                                     Northern District of Iowa




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